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                        DECLARATION OF JOHN P. WIKSWO, Ph.D.



        I, John P. Wilcswo, Ph.D., being oflawful age, declare the following:

                                    Backuound and Experience

1.      I am the Gordon A. Cain University Professor, the A.B. Learned Professor of Living

State Physics, the Director of the Vanderbilt Institute for Integrative Biosystems Research and

Education, and Professor of Biomedical Engineering, Molecular Physiology & Biophysics, at

Vanderbilt University. As an experimental biophysicist, c)ectrophysiologist, and biomedical

engineer, much of my research throughout my career has been in the area of electromagnetic

theory and experiment, and I have studied the production, measurement, modeling, and

interpretation of the electric and magnetic fields produced by bioelectric current sources in

conducting media. I have worked on the modeling and analysis of current distnoutions in

biological tissue, with special emphasis on the biophysics of dcfibrillation, the electrical

properties of nerves and cardiac muscle, and the recording of the electrical potentials produced

by the brain. I have authored over 130 referred scientific publications, 22 book chapters and

review articles, bold 11 U.S. patents, and have published 108 papers in the proc:cedings of

various national and international conferences. In the past thirty years, I have presented over

150 invited talks and colloquia on my research.             I have conducted numerous electrical

experiments on earthworms, frogs, rats, rabbits, dogs, and humans, My complete curriculum

vitae is attached to this report.     I have studied in depth and con1ributed to the literature

describing the interactions of electric fields with biological tissue.

2.      l have reviewed the literature describing the physiological trauma associated with

lightning. electrocution in industrial and other accidents, and electroconvul.sive therapy. I have

read descriptions of the methods by which execution by electrocution is carried out in the United

States. I am familiar with the historical development of electrocution as a means of execution in




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the United States. I have reviewed the autopsy reports of forty (40) executions by electrocution

in Alabama and Florida         I have read five affidavits by eyewitnesses to executions by

electrocution. In the course of developing my opinions regarding the possibility of undue

suffering caused by electrocution, I have reviewed numerous scientific and nonscientific

materials in addition to my own research observations.

                                        Summary of Findjnp

3.     Based upon my personal research experience, detailed review of the literature, and

review of the information previously descnl>ed, I have reached the following conclusions

regarding execution by electrocution:

       a. Execution by ele.ctrocution is extremely painful, because of the direct stimulation of
       nerves and pain receptors, the direct and indirect contraction of virtually all ofthe
       skele1al muscles in the body, the contraction of intestinal and other smooth muscle, and
       the intense pain associated with electrical bums.
       b. There is no scientific evidence suggesting that the intense electrical cUITeDts during
       execution by electrocution induce instantaneous anesthesia or analgesia, and/or
       unconsciousness. There is ample evidence from the medical literature on high-voltage
       (greater than 1,000 volts) electrical accidents that individuals can maintain consciousness
       during strong electrical shocks, even shocks to the head that produce severe tissue
       damage.
       c. There is ample evidence, from judicial electrocutions, ele.etrical accidents, and
       fibrillation research, that at the voltages utilized in judicial execution, the heart will not
       reliably enter into fibrillation and hence can remain capable of pumping blood through
       the body after the end of the electrical shock used in judicial electrocution
       d. Death is caused primarily by suffocation due to paralysis of the respiratory muscles
       and respiratory arrest, and by thermal heating of the brain.
       c. Death by electrocution is not instantaneous.
       f. The minimum voltage and current and duration of this voltage and cuncnt required to
       execute a particular individual by electrocution are unknown. and will vary substantially
       from individual to individual.
                            Clarification of Electrical Terminoloa

4.     There arc a number of fundamental electrical and physiological principles that come to

play during judicial electrocution. A clear understanding of these priDciples is needed to avoid

confusion and misconceptions that are common in discussions of judicial electrocution. Hence, I

will begin this report by developing an analogy that can be used to demonstrate the differences


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between voltage and voltage gradient, current and current density, and resistance and resistivity.

These six terms have clear definitions in the physics and engineering literature, but these

definitions may not be particularly useful to individuals not trained in either field

         g. Voll!ie, V, is defined as the amount of electrical eoergy that is delivered to a positive
         charge of one coulomb as it is moved between two points in space. (It takes
         625,000,000,000,000,000 electrons to make a coulomb). Voltage is also known as
         electrical potential, and bas units of volts. An analogous quantity to voltage is the height
         of a hill above a level plane. When a spherical ball is pushed or pulled to the top of a
         hill, it is given mechanical potential energy that can lalcr be recovered as mechanical
         kinetic energy when the ball is allowed to roll down the hill. When an electron is pushed
         or pulled to the top of an electrical "hill" by a battery or generator, it is given electrical
      . potential energy that can then be recovered when the electron is allowed to flow down
         the electrical hill. Hence the higher the bill, the greater is the mechanical energy that the
         ball can deliver when released, and correspondingly, electrons at a high electrical voltage
         (or potential) can deliver more electrical energy than can electrons at a low voltage (or
         electrical potential). Voltage drop is a commonly used term to describe the difference in
         voltage between two points in a circuit Voltage drop is frequently used to describe the
         Joss of electrical energy (and its conversion into heat) as current passes through a resistor,
         since the voltage is higher on one side of the resistor than on the other.
         b. If a ball is allowed to roll down a hill, it will accelerate and move faster and faster as
         it goes down the hill, as the mechanical potential energy is converted to mechanical
         kinetic energy. The velocity of the ball will increase until the force of gravity that
         accelerates the ball is balanced by the force of friction between the ball and the hillside,
         and the force of air resistance, i.e., the ball will achieve a tcnninal velocity. Elccirons in
         metals and ions in saline media and tissue also achieve a terminal velocity. While the
         electrons and ions experience continual accelerations, they also bump into stationary
        ions, atoms, or impurities that cause them to stop repeatedly. When the electron or ion is
         stopped, the kinetic energy it bas acquired is converted into heat It is just as if the ball
         was rolled down a hill with a number of trees or bushes - just as the ball starts rolling. it
        bumps into a tree and is stop~ whereupon it begins rolling doWDhill again. In such a
        situation, the overall height of the hill is not as important to the ball as is the slope of the
        hill at the point where the ball is located at the moment, i.t., the vertical drop divided by
        the horizontal distance traveled. If the slope of the hill is steep, the ball will begin to roll
        qujckly after it hits a tree, and if the hill is gentle, the ball will start to roll slowly. The
        electrical analogy of the slope of the hill is the voltage gradient, VV, i.e., voltage drop
        divided by the distance. For our discussion, voltage gradient is the same as the electrical
        ~ E, and has units of volts per meter. When you are standing on the side of a hill, it
        is important to distinguish between the height of the hill and its slope. since the slope will
        detennine how bard it is for you to remain on the hillside without sliding down.
        Similarly, it is important to distinguish between voltage and voltage gradient. The
        voltage between the head and the foot in judicial electrocution must not be confused with
        the voltage gradient in a particular organ, which will determine how quickly ions move
        through that organ.




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         It is important to distinguish between voltage and voltage gradient. In our analogy, a

      shelf-like rock outcrop jutting horizontally from the hill could be at a high altitude, and

      yet be level. Since it bad no slope, a ball placed on this outcrop would not roll. A

      conducting object can be at a high voltage, yet no current will flow because there is no

      local voltage gradient. If the arms of the prisoner are not in contact with aoy grounded

      metal, then they will be at a high voltage over their entire length. but no current will flow

      along the arm (except for small capacitive charging currents).

i.      Now let us suppose that the hill we are discussing is in fact a kilometer-long ridge
     numing from north to south, and the elevation of the very top of the ridge is constant. say
     1000 me1ers. People arc placed every meter along this ridge, and each is given a supply
     of balls. Halfway down the eastern side of the ridge is a row of people, also one meter
     apart, placed along the 500 meter contour to count the balls as they roll past. Each
     person on the ridge releases balls at a steady rate onto the eastern slope of the hill. If
     1000 balls are released from the ridge every second, eventually, 1000 balls per second
     will pass the observers midway down the ridge. This rate of 1000 balls per second is the
     equivalent of electrical current. I, which is the amount of electrical charge in coulombs
     per second that passes a point in a circuit every second. Electric current has units of
     amperes, which is the same as coulombs per second. Electrical current is a global
     measure of the rate of flow of electrical charge across the width of the circuit or the
     cross-sectional area of a wire or larger conductor. Resistance is a global property of the
     entire conducting object for a particular distribution (pattern) of cunent flow.
j.      From the perspective of a single tree which is being pelted by balls, the total rate at
     which balls roll down the entire hillside is not as important as the rate at which balls are
     rolling past that particular tree. If a tree happens to be at the end of a ravine that collects
     balls released by a number of different people, then the tree will be hit by substantially
     more balls than would a tree on a small lcDoll that deflects the balls to either side. In an
     extended conductor. such as the human body during judicial electrocution. the total
     current delivered is generally not as significant a5 the current density, J, i.e., the amperes
     per square meter. Ifan electrically sensitive organ is located in a constriction in the body
     such as the neck, the current density will be higher there than it would be in the chest
     because the same total current has the more restricted area of the neck across which it can
     flow.
     le. Now that we have descnDed voltage and voltage gradient. and current and current
     density. we can examine their relationship. In our hillside analogy, the 1rees slow the
     balls down, i.e., the trees provide a mechanical resistance. With electricity, there is also
     a resistance. R, wmch limits the amount of current that flows for a given voltage.
     Resistance is measured in ohms. which are equivalent to amperes per volt. In the hill
     analogy, the "resistance" of the hill is determined by the total number of trees on the
     entire hillside. In electrichy, the current I, the voltage V and the resistance Rare relaled
     by Ohm's law: V =I x R. For us, Ohm's law is more useful when rewritten as I• VI R,




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    or the current flowing along a conductor is equal to the voltage applied to the conductor
    divided by the total resistance of the conductor.
    I. From the point of view of a small grove of trees on the hillside, the total number of
    balls being released at the top of the ridge, the height of the ridge, and the total number of
    trees is less important than the local environment, i.e., the number of balls passing the
    grove, the slope of the hillside, and bow tightly clumped is the grove (the tree density).
    Electrically, the tree density becomes the resistivity. p, which is measured in ohm-
    meters. Ohmts law can then be written as a local property of tbe conductor, J • l/p VV s:
    E/p. The electrical current density at a point in the circuit is determined by the voltage
    gradient VV (or electric field E) divided by the resistivity. Resistivity is a microscopic
    property of the material through which the current flows. In a heterogeneous object,
    different regions can have different resistivities.
    m. When the balls crash into a tree and are temporarily stopped, they deliver kinetic
    energy to the tree and can bend or even damage the tree. Similarly, when electrons or
    ions are transiently stopped by whatever causes the resistance in a material, they too
    transfer their kinetic energy to whatever stopped them. ID materials that are electrically
    resistive, the kinetic energy is transformed into heat. Electrical power, P, is the time rate
     at which electrical energy is converted into heat. Power is measured in watts. Since
    power is the current times the voltage, P =I x V, one watt is the same as one volt-
    ampere. By applying Ohmts law to the definition of power, the equation can be Mitten
     in either of three ways: P - I x V • 12 x R = V2 I R. Power is a global measure,
     applicable to the entire conductor. Locally, there is an equivalent measure,~
     densUy. p, measured in watts per cubic meter, that is the product of the local current
     density and the local electric field, i.e.. p = J x E. Ag~ we can use Ohmts law to write
    this as p • J x E - J 2 x p = E2 I p.
    n. One way to see the relationship between the local, or microscopic, properties of a
     conducting material and the global, or macroscopic properties of the entire conducting
     object is with the example of a bar of conductor that is of length f, width w, and height h.
    It is an implicit assumption of this simple model that the ctnTent flows only parallel to the
     longitudinal axis of the bar, and is unifonn over the cross~scctional area defined by the
    rectangle of sides w and h. If a voltage V is applied to one end of the bar and the other
     end is groUDded (zero voltage), then the electric field in the bar is E =VII. The cmrent in
    the bar is measured to be I. so that the current density is the current divided by the cross-
     sectional area, A, or J • l/(w x h) ... VA. It follows from this and both the local and
     global fonns of Ohm's law that R -= p x I I A. The longer the conducting bar, the higher
    is its resi.stancc because there is more material that all of the current must pass through;
    the larger its cross-sectional area (width, w, times height, h), the lower is its resistance
     because the current can spread out and move along the bar in parallel Bone bas a higher
    resistivity than muscle, and hence a block of bone will have a higher resistance than
    would an identically shaped block of muscle.
           This equation is valid only for conductors whose cross-sectional areas are the same

    over their entire length, and as such this is essentially a one..<fimensional equation. It

    does not apply to conductors for which the cmtent can either disappear from the side of

    the conductor anywhere along its length or travel the entire length of the conductor and


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leave from the end It does not consider electrical anisotropy, as has been found in

skeletal and cardiac muscle and certain neural tissues.         It is not valid for three-

dimensional situations, for example when the current leaves the head electrode. spreads

out through the sponge, 8.Ild then enters the scalp and either travels along the scalp or

passes through the scalp into the brain. It does not include the effects of voltage

gradients within the brain on the current distribution through the skull. Calculus can be

used to derive the resistance of certain two- and three-dimensional conducting geometries

that arc sligh~y more complicated than th~ simple bar yet exhibit simplifying

symmetries, in that the stated formula is applied differentially and then integrated

analytically, but it bas not been demonstrated that this approach can be used with any

degree of accuracy for the geometry appropriate for judicial electrocution. To simply

insert selected scalp and skull dimensions and resistivities into this formula constitutes a

grave oversimplification that will lead to substantial errors. The distribution of currents

within the scalp, skull, cerebral spinal fluid, and brain can be determined accurately only

using three-dimensional numerical models or laboratory experiments on heads or head

phantoms.

o. In electrical circuits, such as a piece of wire. the current that enters one end of the
wire must be identical to the amount of current that flows out the other end. Ifthere are
different parts to a circuit that arc conriected in series, such as the wire connecting the
power source to 1he head-piece, the sponge between the head electrode and the person,
the head, the neck, the chest. the abdomen, the leg, the sponge at the leg electrod~ and
the wire connecting the leg electrode to the power source, then the cWTent flowing in
series through each part must be the same. However, there will be a voltage drop
associated with each segment of the cirtui~ as determined by the resistance of each
segment The sum of these voltage drops will have to equal the voltage applied by the
power source.
p. Ifthe current can pass through a circuit by more than one~ i.e., there arc parallel
cmrent paths, then the voltage applied to each path will be the same but the current
flowing in each path will be determined by the relative resistance of each parallel path.
The lower resistance path will cany a proportionally higher current The sum of the
currents through the parallel paths must equal the total current flowing in the circuit


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         q. It is important to realize that while the current and voltage gradient in a local region
         obey Ohm's law, in that their relative values are determined by the local resistivity, their
         absolute values are determined by the distribution of CUITent and voltage over the whole
         object. In our analogy, the number of balls rolling through the small grove in mid-
         hill.side is detemll.ned by the shape of the hill above it, since the presence of a bluff or a
         ravine far above will affect the current density at the grove. For this reason, the
         determination of the voltage and cUITent distributions in a complicated conductor, such as
         the human body, is difficult to determine from simple calculations. As an example, the
         total current flowing through the head during judicial electrocution must equal the
         CUlTCilt delivered by the power source, but the distribution of current within the bead is
         determined by a complex combination of series and parallel circuits: some of the current
         will flow through the scalp; A parallel path consists of the series resistance of the skull
         and the contents of the skull, which in tum is described by the parallel combination of
         cerebral spinal fluid, white matter, and grey matter. The electric fields in each region
         will be affected not only by the resistivity of that particular region, but also by the
         properties of all of the surrounding conducting material and alternative parallel paths for
         the current.
         r. The distribution of current and voltage in a volume conductor (as opposed to a thin
         wire) is determined by both the locations where the current and voltage are applied, and
         by the combined effects of the shape of the conductor and its distribution of resistivity.
        In volume conductors, it is overly simplistic to state that current follows the shortest path
         or the path of least resistance. The distribution of current and voltage must obey the
         equations that govern electric and magnetic fields, known as Maxwell's equations. In
         certain cases. these equations reduce to Laplace's or Poisson's equation. Their solution is
         frequently written as a Freldbolm equation of the second kind, in which the voltage is
         given by an integral that also contains the voltage. Solution of this type of equation is
         difficult, since the voltage and current at one point is determined by the voltage and
         current at every other point, and to know one voltage and current, it is necessary to know
         all voltages and currents. In general, solution of these equations is done numerically, and
        shows that currents spread over the entire conducting object, with currents generally
        higher in regions of lower resistivity, but with strong geometrical effects.
         s. Electrical capacitance. measured in farads or coulombs per volt, is the ability of an
        object to store charge. In our analogy. it is the equivalent oftbe ability of the rock
        outcrop to store balls. In judicial electrocution, the capacitive effects should in general
        be smaller than the resistive ones, although no measurements of capacitance during
        judicial electrocution have been reported.
                                Scalp-Electrode Interface and Burns

S.      The electrical resistance of the skin will be expected to drop quickly after the voltage is

applied to the prisoner.      As stated by J.P. Reilly in bis book Electrica) Stimulation and

Ele.ctropatbology. "at the level of electric line voltages, i.e., 110 to 220 volts, a skin impedance

breakdown occurs fairly rapidly. ... For example, 50-Hz AC voltage stimulation results in an

initial rapid drop in impedance within a fraction of a minute, followed by a slower drop in the


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first minute, and then more gradual decreases in the next 7 to 8 minutes until a plateau is

reached." The net result is that for a given applied voltage, lhere will be an rapid increase in the

current delivered to the prisoner as the skin resistance breaks down. However, if the moisture is

driven from the sponge or gauze, or a significant charring occurs, the resistance might increase.

6.     In execution by elecirocution. electric voltage is applied to the head of the prisoner by a

metal scalp electrode, with a saline-filled sponge or gauze between the metal and the scalp. In

comparison to the electrical conductivity of human flesh, the interface between this

electrode/sponge and the scalp presents a regjon ofvezy high electrical resistance. As a rcsul~ a

substantial fraction of the electrical power dissipated during electrocution is in fact dissipated at

the electrode-scalp interface and in the scalp tissue immediately adjacent 1o the electrode.

Initially, there will be a decrease in resistance as the insulating layers of skin are burned away.

As a result of the power dissipation at the electrode-tissue intcdacc, there will be heating. which

will Jead to severe bums and vaporization of the saline in the electrode and also tissue fluids.

The evaporation of the water in the saline-filled sponge, the effect of vapors released at the

interface, and the formation of char may cause the electrode-tissue interface resistance to

increase with time, thereby reducing the current delivered by the circuit Other factors may

counter this effect, including the electroporation of cell membranes in the tissue underneath the

electrode.

7.     The concentration of electric current as it leaves the electrode will cause severe burning

of the scalp, as reported in all of the forty {40) autopsy reports reviewed. Because the metal

electrode and saline-soaked sponge or gauze beneath it will approximate an electrical

isopotcntial., the padients in the potential and hence the current flow resulting from these

gradients will be concentrated in an annular region of the scalp at the peripbezy of the electrode.

This concentration of current will be exacerbated by the presence of the thin, high-conductivity


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scalp, and the insulating bones of the skull beneath it Hence much of the current passing

through the electrode into the body will have to pass through this annular ring of tissue. As a

result, there is often an annular bum on the top of the head, as reported in 33 of the 40 (82%)

autopsy reports reviewed 0>/ayne Eugeoe Ritter, Michael Lindsey, Wallace Norrell Thomas,

Robert Henderson, Nollie Lee Martin. Robert Marion Francis, Robert Allen Harich, Raymond

Robert Clark, James William Hamblen, Anthony Bertolotti, Aubrey Adams, Theodore Robert

Bundy, Jeffery Joseph Daugherty, Willie Jasper Darden, Jr., Beauford White, Ronald John

Michael Straight, David Livingston Funchess, Daniel M. Thomas, Michael DW'ocher, Larry Joe

Johnson, Marvin Francois, Johnny PauJ Witt, James David Raulerson, Thimothy Palmes, James

Duprey Henry, Ernest John Dobbert, David Leroy Washington, Carl Elson Shriner, Richard

Lewis Adams, Arthur F. Goode, ID, Anthony Antone, Robert Sullivan, Pedro Luis Medina). It

would be expected that this bum ring would involve the entire thickness of the scalp; after the

bum progresses through the skin and whatever thin muscle layer is present, it will reach the

insulating layer of subcutaneous fat, which would then melt, vaporize and bum. The result

would be a Jayer of char outside of the bones of the skull.

8.     The bum ring on the crown of the head and the third degree bum within the bum ring bas

been proposed as evidence that the path of the electricity is through the top of the skull into the

brain. 'Ibis is not correct. In some electric chairs, the metal electrode is smaller dWi the sponge,

so the current spreads out from the electrode into the sponge. To the extent that there is current

flow in the sponge parallel to the surface of the head, there will be a corresponding voltage

gradient along the sponge/head interface. Let us first assume that the skull beneath the scalp is a

perfect insulator, so that the current could not enter the skull. The magnitude of the tangential

current in the scalp beneath the sponge will depend upon the relative resistivity of the sponge

and the scalp. The current density flowing tangentially along the scalp will be zero at the center



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of the sponge, and will grow ~ith distance from the center as more and more current enters the

scalp from the sponge. At the edge of the sponge, the current flowing from the electrode and

through the sponge can only flow into the scalp, and as a result, the total cUITent delivered to the

electrode from the power source must pass through the annulus of scalp just outside the sponge.

The current density at that point is the total cmrent divided by the product of the cllcumference

of this region and the scalp thickness. Further from the edge of the sponge, the circumference

that must be crossed by the cUITCnt increases roughly in proportion to the distaDce from the

center of the sponge. As a result of the geometric spreading of the current beyond the sponge,

the current density in the scalp is reduced with distance from the sponge. Because of the

increase of cuncnt density from the center of the sponge towards the edge, and the reduction

beyond the edge, the very highest current densities will occur in the scalp in the aDDular region

immediately beneath the edge of the sponge. This is the region where the most severe thermal

effects wil1 occur.

9.      Were the skull a better conductor than the scalp, the cunent density would be more

uniform beneath the electrode, and as a result the bum would be more uniform beneath the

sponge. The severely burned region would be more like a disk than a ring. Obviously, the skull

is neither a perfect insulator or a perfect conductor, but the presence of the bum ring indicates

that a substantial fraction of the current passes from the sponge into the scalp and spreads

outward into the adjoining scalp, rather than crossing the scalp and passing across the slcull and

into the brain.

10.     The presence of a bum ring is a well knovm phenomenon in the literature describing

cardiac defibrillation electrodes and is not evidence of current passing directly and uniformly

into the tissue deep beneath the electrode.                                                                       I ;


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For a given voltage, V, applied to the prisoner, the current. I. that will flow through the prisoner

will be equal to the voltage divided by the total resistance,   ~   between the two electrodes, i.e.,

Ob.m's Law I= V/R. The resistance as seen by the power supply is the sum of the resistance of

the cables, the electrodes, and the interelectrode resistance. The interelectrode resistance is in

tum determined by the resistance of the saline sponges or gauze between the metal electrodes

and the tissue, the geometrical shape and size of the electrodes, the conductivity of the skin

beneath the electrodes, the presence of muscle or bone beneath that s~ and the appropriatcly-

weigbtcd electrical c.onductivities of all tissues between the two electrodes. The total electrical

resistance will vary dwing the C.OW'Sc of the shock, as the skin is heated and the electrically

insulating skin layers are pcrforatcd., as the saline in the sponge or gauze beneath the electrodes

vaporizes, and as the intervening tissue is heated, vaporized, and possibly charred. However, at

no point in time is it possible for the electric chair power supply to control hQlh the current and

the voltage applied to the prisoner. If one is set, the other follows directly from Ohm's law. If

the saline-filled sponge or gauze beneath the electrodes has any appreciable resistance, as might

occW' as the water vaporizes, substantial voltage drops may OCCW' within the sponge or gauze,

thereby further reducing the voltage actually applied to the prisoner. If the electric chair power

supply is inpapable of providing the current that equals the applied voltage divided by the

resistance of the electrodes and the prisoner's body, the actual voltage applied to the prisoner will

be reduced automatically, or the power supply will be destroyed, or a fuse or circuit breaker will

disconnect the electricity. Unless the current and voltage are both measured, it is impossible to

state exactly what voltage was actually applied to the body. Because of the electrode resistance

effects described above, accurate measurement of the voltage actually applied to the prisoner

would re.quire the use of independent electrodes connected to the head and leg.




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11.    When current is applied to the prisoner, there will be a voltage drop across the sponges

that connect the electrodes to the person being electrocuted. If the resistivity of these sponges is

high, they will not only dissipate power, but they will also limit the amount of current that is

delivered to the prisoner. Some of the applied voltage would be dropped across the sponges,

rather than across the prisoner. A proper determination of the voltage actually applied to the

prisoner would require the use of separate electrodes, that do not cany any current, to measure

the voltage applied to the prisoner. A chart recorder measuring the voltage delivered by the

power source does not indicate how much of that voltage drop appears across the wires, across

the connections to the electrodes, the sponges, or the prisoner. It is accepted practice in physics

and electrical engineering to use one pair of wires to deliver the current and another to measure

the voltage applied to the test object. Otherwise, there can be substantial cnors in detennining

what voltage is applied to the object.

12.    It is incorrect to assume that the application of 1,800 - 2,200 volts between the head and

the leg electrodes of a prisoner during judicial c1ectrocution will produce larger physiological

effects to the brain than would the application of 150 volts during electroconwlsive therapy.

While the voltage drop across the entire prisoner's body may be 1,000 volts or higher, depending

upon the voltage drop within the sponges, the voltage drops across just the head during judidal

electrocution will be smaller, since voltage drops will also occur elsewhere in the body,

particularly at restrictions such as the neck and knee.     The voltage drops across the head or

within the brain during judicial electrocution are unknown. Furthermore, the experience with

e1ectroconvulsive therapy indicates that the physiological effects of electrical cUirent will be

strongly dependent upon the actual path taken by the electrical current within the brain. The

path of electrical cutTCnt within the brain during judicial electrocution is unknown.




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13.    It has been stated that electrode gel is used during judicial electrocutions to reduce the

amount of post-mortem burning. Electrode gel is used in the recording of bioelectric signals

such as the electrocardiogram (ECG) and the electroencephalogram (EEG) to reduce skin

resistance. Some gels contain abrasive material, so that when rubbed in the skin. the resistive
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layer is perforated. While such electrode paste may reduce the initial resistance of the skin when     ~




the electric current is first applied, at the current densities used in judicial electrocution the

resistivity of the skin is rapidly broken down. Buming is a result of the power being dissipated

throughout the circuit: in the sponges. in the skin. in the subdermal layers. and the underlying

tissue. There is no evidence that this electrode paste reduces po5t-mortem burning. Since the

initial resistance of the skin could be reduced by the paste, it wouJd be better to state that the

paste reduces ante-mortem burning, but even this is unproven. Given the complexities of the

thermal response of tissue to electrical current and the difficulties associated with determining

the time of death, or even of Joss of consciousness, it is impossible to state whether the electrode

paste reduces post-mortem burning. Given the charring of the skin in the bum ring and the third-

degree bum within the ring, the role if any of the electrode paste is unclear.

                                losulatini Properties of the Slcull

14.    The ability of tissue to carry electric current is determined by its electrical resistivity.

When a voltage is applied to a conducting objec~ the magnitude of the resulting current that

flows through the object is inversely proportional to the resistivity. In complex, heterogeneous

conducting structures, such as the human body, the flow of current is determined not only by the

resistivity of the various regions, but also by their shape. Wherever low resistivity pathways are

available, tbe current will be shunted away from adjacent high-resistivity ones. Because the

low-resistivity brain (approximately 2.2 Om) is separated from low resistivity scalp

(approximately 2.2 Cm) by means of the highly resistive bones of the skull (approximately 176


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Cm), the majority of the electric cWTent delivered to the body from the scalp electrode will flow

along the scalp and superficial cranial m~Jes, rather than directly entering the braln. The exact

amount of this shielding effect is Wlknown. Reports in the eJectroconwlsive therapy literature

indicate that between 80% and 98% of the current applied to the head is shunted by tbe scalp, so

that only 2% to 20% of the current is delivered to the brain. This shielding from the brain of the

externally-applied electrical current, caused by the conducting properties of the scalp acting in

concert with the insulating properties of the skull, is the identical effect that causes significant

attenuation of the electrical signals from the brain as recorded on tbe surfate of the scalp during

electroencephalography. The reported differences in the amplitude of EEO signals recorded

from the scalp and the exposed cortical surface are consistent with this shielding effect

15.      Because of the longitudinal flow of current from the top of the head through the neck,

there could be fraction of an ampere of total     cWTcnt   flowing through the brain. However,

because of the much larger cross-sectional area of the brain, the cummt densities in the brain will

be much lower than those in the scalp.

16.      Because tissue is resistive, electric power will be dissipated in the form of heat when

current flows through the tissue. For a given current, more power will be dissipated the more

resistive is the tissue. However the dissipation in a particuJar tissue will be determined in part by

whether there is an alternative, parallel path for the current to follow. He.nee the power

dissipation in the brain is detemllned by how much of the cmrcnt passes through the skull into

the brain versus being shunted around the skull by the scalp; one would expect the power

dissipation in watts per cubic meter to be a factor of one hundred lower in the brain than in the

scalp.    Similarly, because the resistivity of the lungs is a factor of three greater than the

surrounding tissue, the current will be shunted away from the lungs, to be carried primarily by

the thoracic muscles.


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17.    It is well recognized that direct electrical stimulation of the brain via scalp electrodes is

extremely painful. lt is difficult to apply sufficient current density to the scalp to have any

neurological effect on the brain without causing intense scalp pain, in part ·because of the

aforementione.d insulating properties of the skull. For tbis reason, external electrical stimulation

of the brain is seldom used clinically, except for electroconwlsive therapy, which requires the

use of general anesthesia, muscle relaxants (to prevent broken bones), and anticbolincrgic agents

(which control cardiac bradycardia and tachycardia).

18.     Because trans-scalp electrical stimulation of the   b~    is so painful, a number of firms

have developed magnetic stimulators, which allow currents to be induced in the brain while not

being induced in the scalp, thereby allowing clinical neuropbysiologists to study efferent neural

pathways that con1rol motor functions in humans. Because of the conducting properties of the

scalp and the insulating properties of the skull, these studies previously could only be conducted

when the surface of the brain was surgically exposed for direct application of current to the brain

tissue. Based on this analysis, I conclude that the electrical currents delivered to the brain during

electrocution have significantly smaller clectrophysiological effects than the currents that are

simultaneously delivered to the skeletal muscle and peripheral nerves that lie directly in the path

of the applied currents flowing from the top of the head, across the scalp, and down the body to

the Jegs.

19.     The ability of the scalp to shunt current away from the brain is confirmed ·by the

generally mild thermal injuries to the   b~     in contrast to the massive thermal damage to the

scalp. In 10 of the 40 (25%) autopsy reports from executions by electrocution, epidural

bematoma was reported (Beauford White, David Livingston Funcbness, Daniel M. Thomas,

Michael Durocher, Lany Joe Johnson, Marvin Francois, Thimothy Palmes, Car) Elson Shriner,

Arthur F. Goode,    m, Robert   Sullivan), some of which were reported as being due to beat.


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Discoloration of the dura was reported in 16 of the 40 (40%) of the autopsies from execution by

electrocution. (John Louis Evans, Robert Marlon Francis, Roy Allen Harich, Antboni Bcrtolotti,

Aubry Adams, Theodore Robert Bundy, Jeffrey Joseph Daugherty. Willie Jasper Darden, Jr.•

Michael Durocher, Larry Joe Johnso0y Johnny Paul Witt, Timothy Palmes, James Dupree Henry,

David Washington. Anhur F. Goode, Ill). In many of the autopsy reports, it was indicated that

cuts through the brain and upper cervical spinal cord revealed no other abnormaljties. Hence it

is apparent that the brain is not being burned directly because of the electrical and thermal

resistance of the skull. However, the ability of the brain to function is compromised as it is

heated indirectly by thermal transfer through the skull and thermal transport through the blood

vessels of the neck.

20.    It is well-established that the electrical resistances of human tissues vary widely from

individual to individual. Furthermore, there are a number of compounding factors that affect

most critically the electrocWtissue resistance, including the presence or absence of fatty tissue

beneath the skin, the distribution and activity of sweat glands, the amount of oil in and on the

skin, hair, skin thickness, skull thickness, skull resistance, location and size of cranial fissures

(sutures) in the skull, regional blood flow at the time of electrocution, the geometry of the

stimulating electrodes, and the preparation of the skin surfaces prior to the application of the

electrodes. The well-documented presence of severe bums under the electrodes indicates that

the current-carrying capacity of tissue is greatly exceeded and that thermal mechanisms of

energy dissipation (i.e., buming of tissue) become dominant

21.    The distribution of currents in the brain as a result of e)ectrical stimulation applied to the

scalp is a complicated problem, in that it is necessary to include the effects of the scalp, the skull,

the openings in the skull, the cerebral-spinal fluid, the corte~ the grey matter, the blood vessels.

and the ventricles within the brain. Because of the complex and varied shape of cortical neurons


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and their electrical connections, the electrical properties of white matter can in general be treated

as being directionally independent (isotropic), but within the grey matter, the direction of the

current flow bas been shown to reflect the direction of the nerve fibers, so that the grey matter is

more properly described in terms of a directionally dependent (anisotropic) electrical resistivity.

                                ,Anesthesia or Loss or Consciousness

22.     There is no documented evidence that large electrical shocks such as occur in execution

by electrocution induce anesthesia It is well-recognized that the primary effect of electrical

shock is stimulation of muscle contraction and severe third- and fourth--degree bums at the point

of electrode contact In execution by electrocution, the electrodes are on the scalp and the legs,

locations where there are ample nerve endings to transmit excruciating pain signals to the

subject's brain.

23.     It has been stated that the brain loses con.scioumess immediately after application of the

electric cUITent, or within milliseconds. There is no scientific or evidentimy basis for this claim.

It bas been hypothesized that the application of cmrent leads to instantaneous and massive

depolarization of the brain that results in instantaneous unconsciousness.          Reports in the

scientific and medical literature, as well as anecdotal reports from neurologists treating victims

of electrical   shoe~   indicate that it is possible to maintain consciousness during high voltage

electric shock.

24.    In electroconwlsive therapy, the electroencephalogram (EEG) is frequently measured

dming and after the procedure.         No such measurements have been made during judicial

electrocution, and hence it is scientifically impossible to determine whether or not the brain is

functioning following the first application of electric current. The reports in the literature of

individuals who have survived accidental electrical shock to the bead indicate that the scientific

evidence is to the contrary.       In general, prisoners are non-responsive following the first


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application of electric current, even though there may be a heart beat or other indications of life.

Because of the lack of any information regarding the actual response of the brain during the

course of the electrical current during judicial electrocution, it is unclear when in the comse of

the execution the brain becomes unresponsive. There is no scientific evidence to indicate that it

occurs instantaneously.

25.    It is incorrect to state that the loss of consciousness would result   from the administration
of just 40 milliamps of electricity to the heart aJJd brain. There arc no such distinct thresholds

for either the heart or the brain. Much larger currents are experienced by victims who survive

accidental electrical shock and lighting strikes.

26.    lt is incorrect to state that there is a widely accepted scientific opinion that judicial

electrocution results in the massive and instantaneous depolarization of the brain with the initial

surge of high voltage electricity. There is no such widely held opinion.

27.    The response of a nerve cell to the application of an electrical current to the brain will

depend upon a number of factors. including the shape and size of the nerve cea its orientation

relative to the applied electric field, and the uniformity of the applied field. The threshold for

stimulation of a single nerve fiber can differ by a factor of I 00, depending upon whether the

electric field is parallel or transverse to the axis of the cell. The side or end of the cell that is

closest to the negative electrode will be    depol~       while the opposite end or side will be

byperpolarized. The stimulation of certain cells will trigger the release of neurotransmitters at

some synapses that will excite (depolarize) adjacent cells and at other synapses the release of

nemotransmitters that will inhibit (hyperpolarize) other cells. When the direction of the CUII'ent

is reversed during a single cycle of AC cunent, the ends that were depolarized will be

hyperpol~ and vice versa.         The extent to which the cells can track these reversals of current

will be determined by the kinetics of the individual ion channels in the membrane of that cell.


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The electrical shocks used in electroconvulsive therapy are designed by their strength, duration,

and electrode location to induce grand ma! seizures in the form of cyclic excitation and

iDhibition of populations of neurons; these seizures are liQI in any way a massive

depolarization of the entire brain.

28.    There is no scientific evidence that a voltage in excess of 1,800- 2,000 voltages is

sufficient to produce instant unconsciousness or        to   destroy the conscious nervous system.

Voltage alone is not sufficient. The body can successfully function at very high voltages, as is

routinely encountered in the servicing of high tension power lines. The issues at hand are not

just voltage, but CUlTCilt flow and power dissipation (which is the product of the voltage gradient

and the current density). If the voltage is applied with a small electrode, large voltage drops will

occur in the immediate vicinity of the electrode, and tissue damage elsewhere will be reduced.

There is no scientific evidence that a particular A.C. voltage will destroy the conscious nervous

system.

29.    Not only is there not a single threshold current density for stimulation of brain tissue, it

appears that different measures are needed. In some cases, the quantity that determines whether

a nerve is stimulated is the electric field (the voltage gradient), in others it is the gradient in the

electric field, and in others it is the charge in coulombs delivered per unit area per unit time.

Any discussion of the response of the brain to el~trical stimulation must take these differences

into consideration.

                                Stimulation of Nerves and Mgsclcs

30.    Because of the high c\ll'J'ellt densities distributed through the skeletal muscles of the neck,

thorax and leg, these muscles undergo involuntazy and forceful contractions. Electrical current

passing through the spinal cord and chest will stimulate the nerves enervating skeletal muscles

not dire.ctly affected by the current, for example those in the arms and the leg that does not have



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an electrode applied to it. These contractions are sustained, because the alternating-current

shock is maintained for a long period of time. Throughout the duration of the shock. the muscles

tetanize. i.e.. contract and remain contracted. Because both tbe opposing ilexor and extensor

muscle groups throughout the body are stimulated, the prisoner is unable to move and the entire

body becomes rigid. This is consistent with the affidavits of Richard Hyde regarding the

execution of Warren McClesky in Georgia in 1991 ("His body tensed up and became extremely

rigid."); that of Russell F. Canan regarding the execution of John Louis Evans in Alabama in

1983 ("His body slammed against the straps holding him in the electric chair and his fists

clenched permanently"); the affidavit of Johnathan Eig regarding the execution of Dalton

Prejean in Louisiana in 1990 ("I saw Mr. Prejean jerk violently as soon as the executioner

administrated the fust jolt of electricity to bis body. Mr. Prejean pressed against the straps in a

futile attempt to raise from the chair. One the second or third jolt, Mr. Prejean's fist turned

out."); and from press accounts of the execution of Roy Allen Harich in Florida in 1991

("Moments later, his body convulsed, bis bands gripped the chair violently, ... "); press accounts

of the execution of Linwood E. Briley in Virginia in J984 ("His fingers .•. kind of tightened up

almost in a fist, but in a deranged manner"); press accounts of the execution of John Arthur

Spenkelink in Florida in 1979 ("His chest heaved, his right fist clenched and bis left hand

moved. The legs jerked."). Prior to the use of general anesthetics and muscle relaxants, a

common side effect of ECT was broken bones, indicating that electrical stimulation of nerves

and muscles can lead to violent muscular contractions.

31.    When a 60 Hz altem.a:ting voltage is utilized in an electric chair, the nerves in the brain,

spinal cord, and peripheral nervous system, as well as the skeletal muscle, will be repeatedly

stimulated with each cycle of the alternating voltage, making the sensations even more painful.




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32.     Because the prisoner is strapped into the chair, often with arm, chest, and leg straps, the

body is prevented from moving during these violent contractions of the skeletal muscles,          but-
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forces developed by the muscles are sufficient tD abrade or bruise the flesh beneath the straps,

(e.g., strap mark impressions on face and ankles reported in the autDpsics of James William

Hamblen and Jessie Joseph Tafero), or even break the straps (e.g., the affidavit of Russell F.

Canan regarding the execution of John Louis Evans in Alabama in 1983).

33.     When the thoracic muscles arc in a state of continued     contractio~   the prisoner cannot

breathe, nor can the prisoner cry out or provide other signs of 1he intense pain. In the literature

on accidental electrical shock, survivors have reported that they cried out during the shock,

whereas witnesses to the accident noted that the victim only produced faint sounds. The absence

of sound from a prisoner during ju<licial electrocution is not proof that the prisoner neither

experienced pain nor attempted to cry out. In fact, witnesses have stated that Jerry White

screamed out when the electric current was applied during his judicial execution. This would

suggest that he experienced pain. The use of a strap across the prisoner's mouth during judicial

electrocution may limit the ability of the prisoner to cry out, and the maintained contraction of

the thoracic musculature may prevent repeated cries, but the pain and the attempts to cry out can

still occur.

34.     The electric shock also causes contraction of the smooth muscles of the intestinal     ~

urinary tract, and the cardiovascular system. The combined strength of the skeletal and smooth

muscle contraction can be sufficient to rupture blood vessels, as indicated by prisoners who have

vomited blood, or bled profusely from the eyes. nose, and mouth during execution. Vasospasm

can be induced that leads to regional iscbemia. Jn the review of autopsy reports from 40

executions by electrocution, 18 of these (45%) were reported to have blood or

bloody/sanguineous froth in their lungs (Michael Lindsey, Wallace Norell Thomas, Herbert


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Richardson, Nollie ~ Herbert Lee Richardson, Nollie Lee           M~      Robert Marion Francis,

Raymond Robert Clark, Anthony Bertolotti, Jessie Joseph Tafero, Jeffery Joseph Daughtery,

Willie Jasper Dard~ Jr., Ronald John Michael Straight, David Livingston Funchess, Michael

Durocher, I.any Joe Johnson, Carl Elson Shriner. Pedro Luis Medina). One was reported to

have blood in the gastrointestinal tract (Herbert Lee Richardson). Defecation, urination, and

ejaculation of semen are also induced by these same strong muscular contractions.

                               Asphyxia and Respiratory Arrest

35.    When a person receives a strong electrical shock, the e]ectrical stimulation of the skeletal

muscles required for breathing (the intercostal muscles between the ribs, the muscles of the

diaphragm, and to a limited extent the muscles of the abdomen), will tetanize (conttact forcibly

and remain contracted), and hence the person will be unable to breathe. If the current is

maintained for an adequate length of time, the person will lose consciousness due to a reduction

of blood oxygen levels, and then die by asphyxiation. Since many people can hold their breath

voluntarily for a minute or more without Joss of consciousness, it is reasonable to assume that

asphyxiation by electrocution will require a longer time.

36.    The simultaneous contraction of many skeletal muscles makes a large metabolic demand

on the body, and there will be a rapid decrease in blood oxygen and a corresponding increase in

blood carbon dioxide. However, because the respiratory muscles are        paral~      the prisoner

cannot breathe to supply oxygen to the blood and eliminate carbon        dioxide~   and hence the

prisoner may have a sensation of suffocation. The effect of the increased metabolic demands of

the electrically stimulated skeletal muscles may shorten the duration of consciousness by an

unknown amollllt. The massive stimulation of skeletal muscles during respiratory arrest is not a

reliable means of producing rapid or painless unconsciousness.




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37.    Electrical stimulation of the brain can lead to respiratory arrest, another mechanism of

electrical disturbance of respiration. Electrical current applied to the brain, either directly or

indirectly through afferent nerve fibers, can lead to respiratory arrest In this case, the rhythmic

neural activity in the respiratory center at the base of the brain is disrupted.. For strong shocks,

respiratory arrest can last for minutes to hours. If artificial ventilation is maintained during

respiratory arrest, then normal respiratory activity often returns.       During electroconvulsive

therapy, care is taken to provide mechanical ventilation of the patient should it be necessary.

38.    Studies of the electroen~phalogram conducted by Mikeska and Klemm during death of

laboratory animals by asphyxia concluded that "If an       artificial1y-respir~   paralyzed animal is

suddenly deprived of oxygen, col accumulation in the body tissues should obviously occur

concomitantly with the decrease in Ol levels. Mild increases in COl in the CNS cause both

behavioral and EEG arousal in cats, while high levels of C02 can cause anesthesia and

isoeJectricity in cats and rats. The long duration of EEG activation in rats rendered anoxic by the

termination of artificial respiration indicates that animals killed in this manner are suffering up to

the point of unconsciousness. n      The high metabolic demand caused by the simultaneous

electrical stimulation of virtually every muscle in the body during judicial electrocution can only

cx~ate     this suffering.

                                  Localized Heatin1 of Tissues

39.    The current flowing between the leg electrode and the head must pass through the knee, a

region of the body that is a relatively poor conductor of electricity because of the preponderance

of poorly conducting bone, tendon, fat, and ligament Since the current must pass through this

high resistance region, there will be a greater-than-average power dissipation in the knee, and as

a result thermal bums would be expected. As a result, there can be substantial thermal bums

well above the leg electrode. Bwns centered on the posterior aspect of the knee were descnDed




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in 27 of the 40 (68%) of the autopsy reports from executions by electrocution (Horace Dunkins,

Wallace Norell Thomas, Herbert Richardson, Larey Heath, Comelius Singleton, Robert

Henderson, Nollie Lee Martin, Robert Marion Francis, Robert Allen Harl.ch. Raymond Robert

Clark, James William Hamblen, Anthony Bertolotti, Aubry Adams, Jeffery Joseph Daugherty,

Willie Jasper Darden, Beuaford White, Ronald John Michael Straight, David Livingston

Funchess, Daniel M. Thomas, Michael Durocher, Lany Joe Johnson. Thimotby Palmes. Ernest

John Dobbert, Carl Elson Shriner, Richard Lewis Adams. Anthony Antone. Robert Sullivan).

40.    The neck is more muscular than the knee, but represents a · geometrical constriction

through which the cwrent must flow. This will be a region of high voltage drop and power

dissipation. Given the relative cross-sectional areas, the power dissipation in the neck should be

bi~   although less than that in the scalp and lower leg. Not only does the neck contain the

spinal cord, it also contains the arteries that deliver blood to the brain. Hence heating the neck

'\\ill indirectly beat the brain. While the strength of the musculatme in the neck would be

expected to vary from individual to   individ~   burns and skin slippage at the neck were reported

in 8 of the 40 (20%) of the autopsy repons from executions by electrocution (John Louis Evans,

Arthur Lee Jones, Herbert Lee Richardson, Larry Heath, James William Hamblin, Anthony

Bertolotti, Arthur F. Goode,   m. Robert Sullivan).
                       Electrical Arcin1 Durinc Judicial Electrocution

41.    In electrical systems, arcing (commonly kno'WD as sparking) occms whenever an electric

voltage gradient is either large enough to ionize air, or when material vaporized by the heat

resulting from the power dissipation associated with the electric cwrent forms a conducting

plasma. Once an arc is triggered., it can be difficult to extinguish. A weak electric contact

between two conductors at different voltage could trigger an arc, as might saline perspiration.

Arcing was reported to have occurred in the Tafero execution, apparently because of the use of a


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closed-cell artificial sponge. Because of the strength of the electric current flowing through the

abdomen and the leg with the electrode, there will be substaotial voltage gradients along these

regions. These gradients are sufficient to produce arcing across folds in the skin that occur, for

example, while sitting, as were described in the autopsy reports from the executions of Nollie

Lee Martin, James William Hamblen, Johnny Paul          Wi~   Ernest John Dobbert, and Robert A.

Sullivan. Such electrical shocks and the resulting burns would be expected to be painful.

42.    If a single leg electrode is utilized, one leg will carry current while the other will not.

Hence there will be a large voltage drop along the current..carrying leg. However, because the

other leg is not canying significant amounts of CUITcnt, it will be essentially at a constant

electrical potential equal to that at the top of the thigh. While the tops oftbe thighs will be at the

same potential, the voltage difference between the two legs will increase towards the foot As a

result, any conducting object between the legs will cause electrical current to flow from the

energized leg into the tmenergized one. This provides an explanation for the bums to the groin,

inner thighs, scrotum or penis descn"bed in the autopsy reports from the executions of Wayne

ltitter1 Michael Lindsey, Herbert Rkhardson, Cornelius Singleton, Marvin Francois, Ernest John

Dobbert, and Anthony Antone, and the smoke that arose from the feet of Warren McCJeskey

after the balls of his feet touched. Note that touching the balls of the feet together would be

equivalent to applying a large voltage, possibly in excess of 500 volts, between the feet Such
                                                                            ..
electrical shocks and the resulting bums and stimulation of nerves and muscles would be

expected to be extremely painful.

                                       Cardiac Stimulation

43.    In contrast to skeletal muscle, cardiac muscle does not tctanize with the application of the

strong. rapid stimuli associated with 60 Hz a.C. current. This is because the electrical response

of a cardiac cell has a duration that is comparable to the time required for the mechanical


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contraction of the cell. Associated with this prolonged electrical response is a refractory period

dwing which the cardiac cell cannot be rcstimulated. As a result, a cardiac muscle cell will

always relax before it can be forced to contract again. In contrast, skeletal muscle bas an

electrical response and refractory period that are short in comparison to the time required for the

mechanical response, so that repeated electrical stimuli can maintain a state of contraction.

44.    Because the heart cannot tetanizc, the heart may continue beating during the

electrocution process, albeit with the possibility of the heartbeat being abnormal or i?Tcgular

during the shock. There is a possibility that the heart will enter into a mode of excitation known

as fibrillation, in which the organized. synchronized contraction of the fow- chambers of the

heart, which nonnally results in the regular output of blood, is replaced by a less organiud.

sccmi.ng)y chaotic rhythm that results in a drastic reduction in cardiac output, to the point that

cardiac output is insufficient to maintain life. A heartbeat would not be heard during fibrillation.

The fact that heartbeats are detected frequently after the initial round of shocks in execution by

electrocution indicates that the particular direction, frequency and strength of the currents

applied in execution by electrocution do not regularly induce fibrillation. This is consistent with

the affidavit of Russel F. Canan regarding the execution of John Louis Evans in Alabama in

1983, in which the two doctors detected heartbeats after the first and second shocks.

45.    It is a common misperception that the voltage applied by the electric chair immediately

causes the bean of the prisoner to stop beating. The heart will either stop beating transiently,

beat irregularly, or begin to fibrillate, and may even return to normal rhythm at the end of the

shock. It is not voltage applied to the body that causes the heart to fibrillate, but current applied

to the hatt. Currents on the order of 100 milliamps or even less, if applied directly to the heart

and at the appropriate time during the cardiac cycle, can cause ventricular fibrillation. The 2,200

to 2,350 volts a.C. applied to the prisoner will cause current to flow throughout the entire body;



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the resulting current was measured in the Medina execution to have a maximum value of

approximately 9 amperes. The fraction of this current passing through the heart during judicial

electrocution is determined by how the electric cmrent is distributed through the body. By

applying the current between the bead and both legs, the majority of this cUITent will flow

through the scalp, the muscles of the neck. the skeletal muscles of the chest and back, through

the muscles a.od soft tissues of the abdomen, and then into the skeletal muscles of the legs. The

heart is protected in part ftom this current by the surrounding lungs and the great vessels in the

med.iastinum. A small fraction of the current would be conducted into the heart through the

blood vessels entering the brain, but the combined effect of the conducting scalp and the

insulating skull protects these blood vessels. There is no documentation as to the actual currents

applied to the prisoner's heart. The fact that a mandatory step in the execution procedure is to

check for a heartbeat after the initial shock(s), and the numerous reports in the literature

regarding the necessity to use multiple shocks, indicates that the currents applied to the heart

through the standard electrocution procedure are typically inadequate to produce ventricular

fibrillation, and the heart can continue to beat during an attempted execution.

46.     The voltage gradient required to stimulate the in vivo human heart depends upon a

variety of factors, including the uniformity of the applied electric field, the duration and timing

of the stimulus, and the physiological state of the heart. A uniform electric field of 100

volts/meter applied directly to the heart may be sufficient to stimulate the heart. The voltage

gradients required to trigger an abnormal reentrant rhythm of the heart, such as would be

required to initiate ventricular tachycardia or fibrillation. may be at least five times as strong,

ie., 500 volts/meter, and it could be stronger. It is even harder to defibrillate the heart than

:fibrillate it, and the defibrillation threshold also depends upon a variety of factors including the

geometry of the cardiac fibers. There is no scientific basis for the assumption that the voltage


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gradients in the vicinity of the heart will be of the correct strength to guarantee fibrillation of the

heart. This claim is not supported by the numerous reports of a detectable heartbeat after

multiple shocks during execution by electrocution.

47.    It has been stated that it would take only 75/lOOO's (75 milliamps) of an amp of

electricity to result in immediate fibrillation of the heart, resulting in loss of consciousness and

death. There are several problems with this statement The first is that because of the distributed

nature of the electrical current flowing through the body during judicial electrocution, the total

cunent delivered to the heart is unknown and hence it is unclear whether enough current is

actually delivered to the heart to reliably produce fibrillation. Secondly, the threshold of the

heart to electrically induced fibrillation depends upon Dot only the strength of the shock but also

duration of the shock and the time during which it is delivered. There is no single threshold for

ventricular fibrillation. Fin.8.lly, there are numerous reports in the literature that indicate that

during high voltage electrical accidents. the mechanism of death is not fibrillation, which is

uncommon, but by asphyxia or respiratory mest In addition, there are studies in the scientific

literature that show the probability of induction of fibrillation by AC current stimulation of sheep

hearts shows a peak at 6 amps and drops steadily as the current is increased to 24 amps. These

findings are consistent with there being ao upper limit of vulnerability to fibrillation - strong

enough currents can cause the heart to depolarize but not fibrillate. The reports of heartbeats

being detected following the prescribed course ofjudicial electrocution confinns that the nature

of the current applied during judicial electrocution is not guaranteed           to produce cardiac

fibrillation and subsequent deaih.      The average value of the strength of the current that

corresponds to the upper limit of vulnerability will depend upon the exact path of the cumnt

through the heart, among other factors.




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48.    Just as external electrical stimulation of the brain causes great pain, studies of
transthoracic stimulation of the heart have shown that the pain threshold for the thoracic muscles

occurs at a lower current density than the stimulation threshold for cardiac muscle. Hence it is

difficult to use externally-applied c\D'Tent to stimulate the heart without inducing pain.

49.    Because tbe heartbeat is not necessarily stopped by the applied electricity, and because

the voltages are typically applied for only a duration of up to two minutes, there is insufficient

time for the prisoner to be asphyxiated due to the temporary paralysis of the muscles involved in

respiration. Applying a shock, waiting. and applying another shock provides sufficient time for

the prisoner to either gasp and introduce much-needed oxygen into the lungs, or simply relax the

thoracic and abdominal muscles and allow the passive entry of air into the lungs. The heart then

circulates oxygenated blood to the brain and the rest of the body, thereby keeping the subject

alive for subsequent shocks. The fact that heartbeats are often detected after the initial shock is

proof that this scenario indeed does occur.

50.    The heart has several different rhythms. The standard rhythm is controlled by the sino-

atrial node in the right atrium of the heart, and leads to the orderly contraction of the heart and

the associated heart sounds and pulse. This rhythm is tenned sinus rhythm. If the sino-atrial

node is damaged or if nervous input !O the sinus node reduces the sinus rate sufficiently, the

slower, intrinsic rbytbmicity of the other portions of the heart will pace the ventricles of the

heart. In extreme cases, the ventricles can beat regularly at a rate as low as thirty beats a minute,

i.e. bradycardia. This rate may not be sufficient to maintain consciousness, but it can sustain

life. The heart can also beat too rapidly, ie., tachycardia, either in a regular manner or an

irregular one. In some clinical conditions, the atria can be in 1achycardia while the ventricles

beat more slowly. In most cases, these rhythms are oot lifc-threateniog in the short term. Heart

sounds and a pulse would be detectable in a tachycardia. Other cardiac rhythms include


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numerous types of arrhythmias, ranging from a simpJe premature ventricular contraction

followed by a compcma10ry pause (Often reported as "My heart skipped a beat.") to more

complex pattems of atrial or ventricular activation, sometimes running in sets of multiple beats.

Ventricular tachycardia can lead to ventricular fibrillation, a complex mode of electrical

activation in the heart that does not provide for an organized contraction or pumping action of

the heart. and hence neither heart sounds or a pulse would be detected. Consciousness is

generally lost after fifteen to thirty seconds of ventricular fi~rillation. Human hearts seldom

spontaneous1y revert to normal rhythm after fibrillation. There is no single cardiac rhythm

associated with death - there is no uniquely identifiable "agonal pulse" or "agonal heart sound."

The pulse could be weak or irregular, but this could be for a variety of reasons, including one of

many non~fibrillatory arrhythmias. A pulse can be sufficiently weak or irregular that life cannot

be sustained, but a heart tbai is producing heart sounds and a pulse is by definition pumping

blood through the body. A heart that is fibrillating is not pumping blood and is not producing

either heart sounds or a pulse. A heart that is producing either heart sounds or a pulse is not

fibrillating. There are ample reports in the literature on judicial electrocution to indicate that

fibrillation of the heart is by no means guaranteed, or even certain.

51 .    It is incorrect to state that an agonal pulse is incapable of pumping blood, oxygen and

glucose to the brain. If the p~se can be detected, it is by definition evidence that the heart is

pumping bl~ oxygen and glucose to the brain.

52.     The heart rhythm is maintained by a natural pacemaker in the hart, in the form of

specialized cardiac tissue. The role of the autonomic nervous system is simply to modulate heart

rate. The rhythm of the heart can be maintained independent of the brain: the heart can be

removed from the body, severed of all nerves. and will continue to beat with a natural rhythm on

its own. This is one reason that a heart can be removed from a donor and successfully


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transplanted into a patient with no attempt to c.ormect nerves.           With sufficiently strong

stimulation to the brain stem or vagal nerve, as can occur in electroconvulsive therapy, the heart

rate can be slowed critically. However, the nature or extent of autonomic stimulation during

judicial electrocution is unkno"Mlt and there is no scienti:fic basis for assuming that the cl~trical

stimulation of the brain will produce either bradycardia or asystole sufficient to lead to death.

The reports of detectable heart sounds and pulse following attempted judicial electrocution are

adequate proof that the heart can remain viab]e after one or more exposures to the high voltages

and cUITents associated with judicial electrocution.

53.     The fundamental issue, consistent with observations of accidental electrocution through

lightning strikes, is that it may take much more than five (5) amperes or even fifteen (15)

amperes of cmrent to successfully electrocute a person. In       fa~   there is no data providing a

definitive current threshold for death by electrocution.

54.     Published studies on high voltage injuries indicate that the contact voltage in powerline

injuries is usually known; however, the current and current pathways are difficult to recons1rUct.

Experimental studies in bogs have demonstrated limJ>.to-limb currents of 4 to 70 amperes when

60 hertz potentials of 2,100 to 14,400 volts rms were applied. Limb-to-limb impedances range

from 130 to 477 ohms. The currents were found to depend principally upon the length of the

edge of the contact. Below 1,000 volts, nonlinear current versus time and current versus voltage

relationships were observed. A reduction in current occurred with arcing a.Dd skin necrosis. The

observed impedance was substantially lower than the previously estimated 500 ohm value for a

whole body resistance. As a result of this, a series of experiments were conducted by Sances and

bis coworkers to examine current pathways in high voltage injuries. They concluded that bums

are routinely present with potentials in excess of 2,000 volts. The tissues are penetrated rapidly

and, because of the large energies. the currents spread to adjacent parts of the tissue. The tissue


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temperature rise is proponional to the square of the current flowing in each of the tissue

compartments multiplied by its resistivjty times the cross-sectional area, multiplied by the time

of current application. It has been demonstrated that human skin requires five (5) hours for

damage at a constant temperature of 44 °C (111 °F) and three (3) seconds at 60 °C (140 °F).

Nerves and other organs may be more sensitive to thermal damage. Tissue destruction is

thermally produced along the cmrent pathways through the small cross-sectional body regions

having a large percentage of high-resistivity bone. In the case of execution by electrocution, this

occurs, for example. at the knee and in some individuals at the neck. These areas often

demonstrate the greatest damage in tissue exclusive of the bone. while other larger cross-

sectional body areas such as the abdominal and thoracic organs often survive direct thermal

injury. Therefore. the hands, feet, and distal body segments which make contact with power

lines are often destroyed. Studies with hind-liinb to fore-limb cmrcnt applied to hogs indicated

that only 0.12% to 0.15% of the total current was carried by the spinal cord. These studies also

showed that even if 10 amperes were applied, the cunent densities actually applied to the

intestines, kidney. liver and back muscles were so low that these tissues could survive. This

analysis does not include the possibility of tissue damage through vascular or biochemical

alteration. The experiments on living bogs were fully consistent with measurements made by

applying 2,000 volts to human cadavers one tO three days after death.

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55.    Based on reports of individuals who have survived accidental electrocution, and those

subjects who have been unsuccessfully electrocuted in the electric         chair~   it is clear that

electrocution causes intense pain. consciousness can be maintained dwing electrocution, and that

electrocution does not necessarily cause instantaneous unconsciousness, or instantaneous

fixation of the heartbeat, or cardiac fibrillation. There is no medical or scientific evidence for


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the hypothesis that execution by electrocution causes immediate brain death and that the subjects

experience no pain.     I conclude that most individuals who are intentiooally electrocuted

experience excruciating pain.

56.    It is well-docmnented that different individuals have different thresholds for the sensation

of electrical current, and the perception of pain. There are similar variations in the physiological

effects of electrical currents, whlch are determined by neural, muscular. and geometrical factors.

There will be significant individuaMo-individual differences as to whether or not cardiac

fibrillation is induced by the first jolt and subsequently halted by subsequent jolts, whether or not

peripheral nerves and the brain are damaged by the currents, or whether respiratozy arrest is

maintained sufficiently long to ensure descent into unconsciousness and asphyxiation.         Th~   it

is absolutely unrea.sonable to assume that there is a single current and voltage threshold for

successful execution by electrocution. The fact that multiple jolts are often required suggests

that the values used arc inadequate for the intended ptup0se.

51.    If the voltage and current in judicial electrocution were sufficient to provide

instantaneous cardiac arrest, it would not be necessary to maintain the      CUITCllt   for more than

thirty seconds, during which time tissue beating and burning continue. The fact that heart beats

and attempted breathing have been observed following the first application of electric current

during judicial electrocution, requiring the application of additional shocks, demonstrates that

judicial electrocution does not produce death by the stated mechanisms. The scientific evidence

would suggest that asphyxiation and excessive body temperature are more likely mechanisms.

58.    There is no scientific evidence that indicates that high voltage electrocution produces

rapid unconsciousness. There is no single time interval corresponding to the ability of a subject

to record pain. Certain peripheral nerves in the body have conduction velocities as high as 100

meters per secon~ indicating that signals can be transferred in less than a single cycle of 60 Hz


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electricity, even when synaptic delays are taken into acc:ounL Furthermore, with the application

of e]ectrical current to the scalp, the distances required for nerve signals to reach the brain are in

fact quite short. Hence, it is scientifically incorrect to claim that the subject will perceive no

pain because unconsciousness occurs so quickly. Pain is perceived most definitely in execution

by electrocution, and unconsciousness does not occur instantaneously.

59.    The autonomic nervous system contains large numbers of small-diameter sensory axons

that are in fact difficult to stimulate electrically.   However, at the levels of current density

imposed during execution by e]ectrocution, sufficient current density may be provided to

stimulate many of the pain receptors and sensozy neurons in the autonomic nervous system.

60.    Many of the structures in the brain, such as the centers that are directly associated with

receiving and processing pain signals from the body, are located deep in the cranial vault and are

hence protected from the electrical current delivered directly to the head through the scalp

electrode. It is unknown whether the current densities in judicial electrocution are sufficient to

stimulate these pain centers directly, or to render them incapable of receiving impulses from the

afferent neurons that cany pain signals.

61.    It is absolutely incorrect to state that the brain docs not create pain impulses, but rather

pain impulses are created in the peripheral nerves. In the normally functioning person, pain

impulses generally originate from the peripheral nerves, but in brain pathologies and in electrical

stimulation of the brain. either during neurosurgery, accidental electrical shock, or judicial

electrocution, the artificial stimulation of the neurons that would in general be the recipients of

the impulses from the peripheral nerves could elicit the same response in the brain as would

natural stimulation of these same neurons. As a result, the issues of delays for propagation of

nerve impulses along peripheral nerves are irrelevant, since the direct stimulation of pain centers

within the brain could occur as soon as the electrical current is applied.


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62.    It is often stated that electricity flows at the speed of light. Electromagnetic radiation

such as radio waves, microwaves, and infrared radiation arc light, and propagate at the speed of

light, but electric current flow in biological tissue is due to the motion of ions, which have inertia

and move at much lower velocities. The rate at which a voltage can be applied to the body is

determined not by the speed of light, but by the electrical resistivity and electrical capacitance of

the body and its internal tissues - charge must be delivered to the body to raise its electrical

potential, and the ability of this charge to move is determined by the resistivity. The amount of

charge required to change the potential is detennined by the capacitance.

63.    In the case of nerves, the substantial capacitance of the membrane and the resistivity of

the axoplasm sets the maximum velocity by which passive electrical voltages will appear along

the nerve. In nerves, passive (termed electrotonic) signals propagate quickly but only over

distances of several millimeters to centimeters; propagating action potentials arc required to

convey information over longer distances. It is clear that if neIVes are placed in a sufficiently

strong electric field, they can be depolarized electrotonically over much of their length more

quickly than can be accomplished by a propagating impulse, but the electrotonic velocity, if one

can be defined, is far far less than the speed of light. It is not correct to argue that electrocution

occurs at the speed of light and hence outruns ncive signals. A neuron in the brain that is

directly stimulated by the electric current flowing through the brain need not wait for an action

potential to mive from a distant part of the body and report that another part of the body bas also

been stimulated. Since pain sensations can be created directly within the brain, the time required

for pain impulses to arrive via afferent nemons is irrelevant.

64.    It is incorrect to assmne that the human brain and peripheral nerves cannot respond to the

rapid reversals of the electric field associated with 60 Hz electrical shocks. For many neIVes, the

threshold for perception of electrical stim~ation peaks in the vicinity of 60 Hz, but neurons are


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capable of responding to much higher frequencies. The nerves in the human ear can respond to

20,000 stimuli per second, neurons in the brain have been recorded producing more than 1000

spikes per second. Responses to stimulation have been observed at rates as high as 2,400 pulses

per second, forty times that provided by judicial electrocution. Victims of accidental electrical

shock recount the perception of each cycle of electrical current. Others report darkening of the

visual field, loss of hearing, distorted feelings such as the swelling of the bead and the shrinking

of the body to unrealistic dimensions. Hence it is reasonable to conclude that some neurons in

the brain. will be sequentially dcpolariz.e.d and repo)arized by the alternating electrical current

used in judicial electrocutions. There is no scientific basis to assume that all neurons will be

depolarized and will be thereafter incapable of repolarizing during alternating current

stimulation.

        Given the ability of neurons to respond to high frequency stimuli, it is reasonable to

assume that the brain is capable of processing pain sensations, arising either from peripheral

nerves or from direct stimulation of the brain, until such time as the prisoner loses consciousness

due to asphyxia, cardiac fibrillation, or electrically induced grand ma1 seizures of the brain.

65.    Comparisons are often made between the stimulation of the brain resulting from the

electrical current delivered during judicial electrocution aDd that utilized in the operating room

during neurosurgical procedures. The comparison of the 9 ampeRS delivered to the head during

judicial electrocution and the I to 15 milliamperes delivered during neurosurgery has been used

to suggest that judicial electrocution produces effects that are much stronger. This is a fallacious

argument, in that a ClllTent through the entire head is being compared to the cUtrent delivered by

an electrode \\ith a diameter of a millimeter or so. Suppose that 10 percent of the current from

the judicial electrocution crosses the skull and enters the brain. If the brain is 12 cm in diameter,

then the cross-sectional area through which this current flows is 113 cm:i. The current density is



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thus 0.9 amperes divided by ll3 centimeters, or 0.008 amperes per square centimeter. In

contrast., the l to 15 milliamperes delivered by a neurologist's stimulating electrode produces a

current density ranging from 1 to 15 milliamperes divided by 0.01 cml, or 0.1 to 1.5 amperes per

square centimeter. The current densities regularly used stimulate the brain in neurosurgical

procedures or for chronic stimulation of brain tissue are ten to two-buodred times stronger than

those delivered during judicial electrocution. Hence claims that the currents used in judicial

electrocution are so strong as to render the brain unconscious are unfounded.

66.    As a result of this analysis, I conclude that there is no scientific basis for the claim that

execution by electrocution produces instantaneous and massive depolarization within

milliseconds of the initial surge of electricity into the head of the prisoner and that the heart goes

into instant fibrillation, all of which cause the prisoner to lose consciousness and die within 34

seconds of the initial jolt of electricity without suffering conscious pain. To the contrazy. there is

substantial scientific literature that indicates that the brain is capable of perceiving pain at least

during the initial stages of electrocution, that cardiac fibrillation does not occur, and that the

prisoner dies of asphyxiation and heating.



       I declare under penalty of perjury and the Jaws of the United State that the foregoing



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APPENDIX A
     SUMMARY OF SELECTED MATERI.Al,S REVlEWED BY JOHN WIK.SWO
       October 18. 2006




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(1)     AUTOPSY OF JOHN LOUIS EVANS

        518.5" 170-180 lbs   Normally developed

Numerous thermal injuries to the head BDd neck region; bums through to the subcutaneous fat;

skin slippage in these areas; darkening of the underlying dural layers; burning of skeletal muscle

in tbcsc areas {Page 2)

Thmna1 injuries on legs, and c.ompression contusions on legs; burns through to underlying skin

and tendons on legs; hyperemia; charring colored black-brown in this region; skin slippage in

these areas; bW1ling of subcutaneous fat; brain endematous (1500 gm) (Pages 3-4)



(2) AUTOPSY OF ARTHUR LEE JONES

        5'1"   158 lbsNormally developed

        Numerous thermal injuries and burning of skin in bead     regio~   skin slippage in these

regions {Page 2)

Skin slippage on neck; skin slippage and hyperemia on leg (Page 3)

Thcnnal injuries on upper back; bones of calvarium intact; brain sectioning normal except for

edema (1240 gm); bones at base of skull intact; skin slippage on neck; no fluid in lungs (Page 4)

Liver, pancreas, and spleen congested (Page 5)

Pathological diagnosis of high voltage electrical injury, cerebral edema, diffuse visceral

coniestion {Page 6)

(3) AUfOPSY OF WAYNE EUGENE RITfER.

        72"    177 lbs Normally developed

Band-like burn to head; nwnerous burns to head, neck, ears and abdomen, with hyperemia and

skin slippage (Page 2)




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Bums on scrotum and leg; brain warm and edemous (1610 gm), with swelling of gyri and

compression of sulci, parboiled appearance; subcutaneous tissues congested; mesothelial

surfaces congested; neck parboiled appearance (Page 3)

Pancreas and kidneys congested (Page 4)

Pathological diagnosis of electrocution with multiple electrical bums and passive congestion of

all viscera (Page S)



(4) AUTOPSY OF MICHAEL LINDSEY

        76"    232 lbs

Band-like bums around head with skin slippage (Page l)

Bums to scrotum and leg; pathological diagnosis of electrocution with contact burn on head, exit

mark on left leg, arcing in groin, pulmonmy edema and congestion, acute passive congestion of

viscera, cerebral edema; Brain edematous (14 I0 gm) (Page 2)



Frothy, blood-tinged fluid in bronchial tree; lungs and pancreas acutely congested (Page 3)



(5) AUTOPSY OF HORACE DUNKINS

        70"    177 lbs

Burns on scalp, lower back, buttocks, left hip, left knee, thighs and shoulder, all with blistering

and charring; abrasion on chest; dried bloody material on right comer of mouth {Page 1)

Pathological diagnosis of numerous electrical burns and severe pulmonary congestion and edema

{Page 2)

Frothy hemolytic fluid filling the bronchi; lungs severely endem.atous and congested; burns on

head include severe charring (Page 3)


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(6) AUTOPSY OF WALLACE NORELL THOMAS

       74"       188 lbsNormally developed. muscular

Numerous bWllS to head region including bwning through dermis and epidermis to subcutaneous

fat, blanching and skin slippage; chaning; "a dark brown parchment-like alteration of the

epi~         demrls and subcutaneous tissue" (Page 2)

V· sbaped current mark on the neck; current mark (bum) to the abdomen with chani.ng, burns to

the thighs and legs with ch.ming; bum on knee deep into subcutaneous fat (Page 3)

Hyperemia of scalp, charring of underlying muscle, bones of skull intact, edematous brain (1500

gm), leptomeningeal vessels congested, brain sectioning   norm~   airways congested with frothy,

blood-tinged fluid, all tissues markedly congested {Page 4)

Liver, pancreas, kidneys congested (Page 5)

Pathological diagnosis of numerous bums throughout body. pulmonary edema and cerebral

edema severe, diffuse visceral congestion (Page 6)



(7) AUTOPSY OF HERBERT RICHARDSON

       68"      148 lbsNormally developed, average build and nutritional status

Body exceptionally warm to touch; blistered black and charred lesion on scalp and ear; mid

portion of ear blackeneciy hardened and contracted; hat-ring burn (Page 2)

Bums and blackening on posterior neck and scalp with underlying change in dermis; bums and

blisters around cars; blackened chming near ear; burns on trunk; bums and charring on scrotum

and thighs (Page 3)

Left knee and leg bums with parchment-like changes in underlying tissue; blisters in area; skin

slippage; contraction of left knee; muscles of scalp light pale; calvarium and skull intact; brain

weight 1400 gm (Page 4)


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Markedly hemoragic mastoid air sinuses; pulmonary tissue expanded and congested and exude

abundant amounts of serosanguinous fluid (Page 5)

Sanginuous mucus in stomach; pulmonary edema and pulmonary capillaiy congestion;

intraaviolar bemorrage (Page 6)

Epidermis on left leg missing (Page 7)

       Diagnosis of electrical burns (Page 8)



(8) AUTOPSY OF LARRY HEATH

       71"     224 lbs

Diagnosis of electrical bums to scalp, thigh. left leg.   great toes;   petechial hemorrhages of left

conjunctiva, neck and chest hands and legs; contusion base of neck; abrasion right leg; contusion

of pharynx (Page 1)

Circular burn on scalp; bums on thighs and left leg; dark-brown charred burn of the big toes;

petecbial hemorrhages of conjunctiva, neck and chest; bum around left knee; petecbial

hemorrhages on right band (Page 2)

Pulmonary edema; pancreas congested; duodenal mucous congested (Page 3)

Meninges clear; yellow and brown burn on scalp; peeling of skin extending to left ear; pctecbiae

on right hand {Page 4)



(9) AUTOPSY OF CORNELIUS SINGLETON

       72"     156 lbs

Electrical bums of head and left Jeg (Page 1)

Circular bum region on head; circumferential bum on left knee; bums of inner thigh and

genitalia (Page 2)

Sectioning of brain normal (Page 3)
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                                                                                    Wil:s'M> Dld&ruSCll
Microscopic examination of brain, be.art. and organs reveals no abnormalities (Page 4)



(10) AUTOPSY OF ROBERT HENDERSON

        70"            Well developed well nourished

Bum ring on scalp and circumferential burn on right leg and kDee, with skin slippage (Page 1)

Full thickness bum of scalp; calvarium and base of skull intact; brick-red clot in epidural area

overlying sagittal sinus; meningeal vesse}s congested: brain 1450 gm, bums noted (Page 3)



(11) AUTOPSY OF NOLLIE LEE MARTIN

        73"            Well developed well nourished

Bum ring on head with char.ring and erytbema of scalp; incompletely circumferential bum of

right leg at and below knee; bums on thigh and trunk (Page 1)

Full thickness bum on scalp; brick-red clot over sagittal sinus; clot is granual; multiple cuts of

brain reveal no abnormalities; brain 1330 gm (Page 2)

Cardiac chambers with clotted and unclotted blood; pulmonary congestion and edema; lungs

ooze bloody, foamy substance (Page 3)

Findings of numerous bums. pulmonary edema and congestion (Page 4)




(12) AUTOPSY OF ROBERT MARION FRANCIS

       71"            Well developed well nourished

Body bas residual warmth; right knee with beat fixation; burn ring on scalp and burn on right leg

at knee; full thickness bum on leg through subcutaneous tissue; underlying skeletal muscle on

knee is discolored gray-tan; dura over sagittal suture discolored brown (Page l)


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                                                                                      \\'il;p,.g tlccbn&a
MeDingca.l vessels congested; lung surfaces congested oozing dark red blood (Page 2)

Findings of bums and pulmonacy congestion (Page 3)



(13) AUTOPSY OF ROY ALLEN HARICH

       71"            Well developed well nourished

Bum annulus on scalp; circumferential bum on right knee; bums have gray to brown char, and

extend full thickness into subcutaneous fat, v.ith erythema; calvarium and skull base intact; d\ll'a

has a thin red-brown hematoma over sagittal sinus; meningeal vessels congested (Page 1)

Cardiac chambers v.ith clotted and unclotted blood; lungs congested (Page 2)

Findings of bmns, epidwal hematoma and pulmonary congestion (Page 3)



(14) AUTOPSY OF RAYMOND ROBERT CLARK

       71"            Well developed well nourished

Scalp and right knee burns; skull cap and base intact; meningeal vessels congested; no brain

abnormalities; extensive adhesions about right lung; brain weight 1490 gm (Page 1)

Lungs increased in firmness and ooze blood (Page 2)

Findings of electrical bums (Page 3)



(15) AUTOPSY OF JAMES Wll..LIAM HAMBLEN

       68"            Well developed well nourished slender

Scalp bum ring v.ith purple discoloration; right knee bum with heat fixation; strap mark

impressions on face and ankles; skin slippage of eyelids & neck (Page I)

Skeletal muscle on head discolored to tan; brain increased in firmness (1350 gm) (Page 2)
Lungs mildly congested (Page 3) Findings of bums, cerebral epidural hematoma (Page 4)

Bums to groin
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(16) AUTOPSY OF ANTHONY BERTOLOTTI

       64.511          Well developed well nourished

Bum annulus and numerous other bums on bead and on leg, with brown to black discoJoration;

belt-like abrasions at right hip; skin slippage near bums and underlying tissues increased in

fimmcss; skull and calvarium intact; brown discoloration of dura mate!' (Page I)

Cuts through brain reveal no abnormalities; lungs congested with blood oozing from sectioned

surfaces (Page 2)

Findings of numerous bums on head. leg at knee, and nec]4 abrasions and pulmonary congestion

(Page4)



(17) AUTOPSY OF JESSE JOSEPH TAFERO

       70"            Well developed well nourished slender

Bmn of scalp and right leg; blunt force injuries to bands; eyebrows and eyelashes singed (Page

1)

Scalp bum extends full thickness; cuts through brain reveal no abnormalities; lungs congested

and blood oozes from sectioned surfaces (Page 2)



Findings of burns to scalp and leg, lacerations to hands, strap marks. and pulmonary congestion

(Page3)



(18) AUTOPSY OF AUBREY ADAMS

       69"            Well developed well nourished

Bum ring on scalp; bum on right Jeg; within scalp ring. scalp is dark-grayish purple; ring itself is

tan and has skin slippage; skin slippage, inaeased firmness and gray-tan discoloration to bum on

the leg (Page l)
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                                                                                   w~ t>.claracioa
Dark red-brown discoloration   to   the dura mater overlying the sagital sinus and immediately

beneath the center of the scalp burn ring; Jung surfaces increased in fumness and decre.ased in

crcpitance (Page 2)

Findings of head and leg bums and pulmonary congestion (Page 3)



(19) AUTOPSY OF TiiEODORE ROBERT BUNDY

       71"            Well developed well nourished sJCDder

Bum ring on head; burn on right leg below knee; yellow-tan discoloration of skin on head with

skin slippage; salt deposits on scalp; skin slippage on leg bum with yellow-tan discoloration

(Page 1)

Calvarlum and skull base intact; brown-red discoloration in dura overlying brain; cuts of brain

reveal no abnormalities; lung substance crepitant and light pink (Page 2)

Findings of electrical bums to scalp and leg (Page 3)



(20) AUTOPSY OF JEFFREY JOSEPH DAUGHERTY

       71"            mildly obese

Burn annulus on head; scalp dark brown to tan and finn; outer regions of annulus reddish-pink;

bum on right leg at knee; yellow-brown discoloration of leg bum (Page 1)

Lungs increased in firmness and decreased in crcpitance; blood oozes from congested sectioned

surfaces of lung (Page 2)

Calvarium and skull base intact; dura overlying brain discolored light tan to brown; cuts through

brain reveal no abnormalities (Page 3)

Findings of head and leg bums and pulmonary congestion (Page 4)



(21) AUTOPSY OF WlLLIE JASPER DARDEN, JR.
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       71"             Well developed well nourished

Bum to leg at kDee and burn ring on bead; burns with dark brown to black discoloration and

increased ion fimmcss of surrounding tissues; calvarium and skull intact; brown-gray

discoloration of dura mater; brain warmer than rest of body; cuts through brain reveal no

abnormalities (Page 1)

LUDgs congested; blood oozes from ~ons of lung (Page 2)

Findings of bums and pulmonary congestion (Page 3)



(22) AUTOPSY OF BEAUFORD WHITE

       65.S"           Well developed muscular

Burn annulus; leg bum; bum margins blackened and quite firm; skin slippage; bum below

clavicle; bwn seen on the shirt; calvarium and skull int.act; beat epidural bematoma beneath

sagittal sinus; heat fixation over cerebral convexities (Page 1)

Pulmonary regions increased in firmness and decreased in crepitance (Page 2)

Findings of bums, heat epidural hematoma, pulmonary congestion (Page 3)



(23) AUTOPSY OF RONALD STRAIGHT

       71"             Slender

Bum ring on head; bum on leg; burnt tissues are quite firm. gray-brown with skin slippage and

erytbema; extradural blood accumulation on head; leptomeningeal vessels congested (Page 1)

Brain reveals no other abnormalities; lung substance increased in firmness and decreased in

crepitance; lung sections ooze pink fluid (Page 2)

Findings of burns and pulmonary congestion and edema (Page 3)



(24) AUTOPSY OF DAVID LJVINGSTON FUNCHESS
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         72"              Well developed well nourished muscular and slender

Burn annulus on head; burn to leg at knee; leg bum is black, full thickness, and quite firm;

calvarium and base of skull intact; beat epidural hematoma beneath sagittal sutme (Page 1)

Leptomeningeal vessels congested; no other brain abnormalities; lung substance increased in

:firmness and decreased in crepit.ance; sectioned hmg oozes sanguineous fluid {Page 2)

Findings of bums and pulmonary congestion (Page 3)



(25) AUTOPSY OF DANIEL M. TiiOMAS

         73"              Well developed slender and muscular

Bum halo on head; bum on leg at knee; bum halo with blackened margins; salt riwlets on bead;.

leg bum with blackened margins; configuration of bum halo on outer table of calvarium; brick

red   hcat~fixed   blood in cerebral epidural surface; superior cerebral smfaces discolored tan to

brown (Page 1)

Brain tissue softer farther from bum mark (Page 2)

Findings of bums and epidural hematomas (Page 3)



(26) AFFIDAVIT OF RICHARD HYDE

RE Execution of Warren McClesky in Georgia in 1991

McCleskey's body tensed up and became extremely rigid; the balls of his feet touched and smoke

rose from feet; body remained rigid while electricity was applied to body (Page 2)



(27) AFFIDAVIT OF RUSSELL F. CANAN

RE Execution of John Louis Evans in Alabama in l 98 l

First 30-second jolt applied; sparks and flames from electrode on leg; body slammed against

straps; fist clenched permanently; smoke and sparks from hood; stench of burning flesh
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                                                                                      Wikswo o.dlinDal
Two doctors examined and not dead; leg electrode strap had apparently burst; second jolt and

more stench of burning flesh; smoke from head and leg (Page 1)



       Doctors examined him and still alive. Third jolt. Declared deaci



(28) AFFIDAVIT OF SAMUEL GLASSCOCK

       RE Execution ofFiallk J. Copolla in VirgiDia in 1982

Two SS second applications of cmttnt

During second application, smoke from head and leg; flames from leg; sizzling sound; smoke

rising to the ceiling; smell of burning flesh (Page 1)



(29) AFFIDAVIT OF JONATHAN EIG

       RE Execution of Dalton Prejean in Louisiana in 1990

       Four jolts of electricity: 2000 V 10 s. 500 V 20 s, 2000 V 10 s, 500 V 20 s.

I saw Mr. Prejean jerk violently as soon as the executioner administrated the first jolt of

electricity to his body. Mr. Prejean pressed against the straps in a futile attempt to raise from the

chair. One the second or third jolt, Mr. Prejean's fist tumed out

On the third jolt, spark from left leg and smoke from the leg (Page 2)

Lips blue when mask removed.



(30) AFFIDAVIT OF JOHNNY ROBINSON

       RE Execution of Alvin Moore in Louisiana in 1987

Third degree bums on bead and leg; epidermis missing on bead



(31 ) "Killer Goes Casually To Chair"
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       RE Execution of James William Hamblin in Florida in 1990

       Frail looldng

Vvbite smoke rose from head and leg; acrid odor fill~ the air (Page 2)



(32) "Smoke, Flames Erupt As Killer Is Executed"

RE Execution of Jessie Tafero in Florida in 1990

Flames and smoke from bead set; continued to breath and slowly nod his head after first and

second shocks; each time they turned on the switch, flames shot out and smoke rose from

underneath mask

       2000 V and 14 amps



(33) "Execution Keeps Death Penalty Opponents Focused On Virginia"

RE Execution of Willie Leroy Jones in Virginia in 1992

Body jerked slightly upon application of electricity; fists clenched; smoke and sparks from right

leg (Page 1)



(34) "Confessed Double Murderer Executed"

RE Execution of Willie Leroy Jones in Virginia in 1992

Wisps of smoke rising from chair after switch flipped (Page 1)

       There was a lot of smoke



(35) "Victim's Sister Sees Execution"

       RE Execution of Roy Allen Haiich in Florida in 1991
Moments later. his body conwlsed, his hands gripped the chair violently, and a puff of smoke

rose from the electrodes on right leg (Page 1)
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(36) "Clark Executed in Florida"

RE Execution of Robert Raymond Clark in Florida in 1990

Only visible sign was smoke rising from leg which jerked when electricity applied (Page I)



(37) "Execution Tak.es Three Tries; Witnesses Shaken"

RE Execution of William Vandiver in Indiana in 1985

Three jolts of electricity; breathing ceased but heartbeat remaiDed reguJar; final applicatiou of

2300 V for 5 s and 500 V for 25 s.

       A lot of smoke coming from head; tremendous smell of bum.iJlg, he was breathlng, you

could hear him breathing.



(38) "Sorrowful, Satisfied Crowds Greet Briley Execution"

RE Execution of Linwood E. Briley in Virginia in 1984

Two jolts of 2500 volts; "his fingers ... kind of tightened up almost in a ~ but in a deranged

manner" (Page 3)

       Odor ofbwned flesh; a little smoke from his right leg (Page 4)



(39) "Convicted Murderer Executed By Florida"

       RE Execution of John Arthur Spenkelink in Florida in 1979

With the first jolt, "His chest heaved, his right fist clenched and his left hand moved The legs

jerked. The flesh on leg seared; smoke rose into chamber; three inch wound below electrode;

skin had split but no blood; smell of burning flesh did not reach official witnesses; hands turned

blue, especially near the fingertips; first jolt did not kill him; second jolt applied; exammed

again; third jolt applied; declared dead



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(40) "Confesses To Another Crime"

       RE Execution of Julius Morgan in Tennessee in 19 l 6

Two jolts; "The second shock was given to make sure of his instant death and to relieve him of

any possible pain that might come from burns (Page 2)



(41) AUTOPSY OF MICHAEL DUROCHER

       74"            Well developed slender

Electrical bums on scalp and right leg; bum ring; skin slippage and erythcmatous change around

area; calvariwn intact; brain 1660 gm; heat epidural bematoma beneath sagittal suture; reddish-

brown discoloration outer surface of dura mater; brain substance warm; gyri flattened; sulci

narrowed; no other brain abnormalities (Page 1)

Heart distended with unclottcd blood; hmg substance increased in finnness and decreased in

crepitance; dark red blood oozes from sectioned lung; lymph nodes of mediastinum enlarged and

anthracotic; lymph nodes about pancreas and liver mildly enlarged (Page 2)

Bum on leg at knee; tan to brown color around bum; firm consistency of bum; ezytbcmatous rim

around bum; skin slippage; findings of bums on scalp and leg and pulmonary congestion and

edema (Page 3)



(42) AUTOPSY OF LARRY JOE JOHNSON

       67"            Well developed well nomisbed

Bum ring on scalp; ezythematous rim on tissue; skin slippage; tan to brown discoloration with

heat fixation; calvarium and skull intact; beat epidural hematoma; underlying dura gray-tan

discoloration; cuts through brain reveal no abnormalities (Page 1)

Lung substance moderately congested and frothy fluid oozes from sectioned lung; liver

congested (Page 2)
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Bum on right leg at knee (Page 3)

Findings of bum ring; bum on right leg; heat epidural hematoma; pulmonary congestion and

edema; cardiomegaly (Page 4)



(43) AUTOPSY OF MARVIN FRANCOIS

       71.75"          Well developed well nourished

Annular bum on scalp; bum on right leg below knee; pleural pericardial spaces reveal adhesions;

cardiac chambers dilated with clotted and unclotted blood; lung substance increased in firmness

and subcrepitant; sectioned surfaces congested (Page 1)

Scalp bums; calvarium and skull intact; beat epidural hematoma not present; dural and

Jeptomeningial vessels congested and firm; gyri widened; sulci narrowed; cuts through brain

reveal no other abnonnalities; findings of electrical bums, pulmonary congestion and acute

cardiac dilation (Page 2)



(44)AUTOPSYOF JOHNNY PAUL WITT

       70"            Well developed well nomished

Amlular bum on scalp; skin slippage; burn on leg at knee; variation from slight erytbema at

periphery to focal tan to brown firm tissue fixation; bums in groin area with yellow-tan centers

and erythematous rings (Page 1)

Cardiac chambers dilated with clotted and unclotted blood; pulmonary parenchyma subcrepitant;

pleural anthracotic pigment deposit and enlarged lymph nodes of pulmonary hila and

mediastinum; full thickness bum of scalp; epidural hematoma above sagittal suture; blood clot

firm and brick-red; dura not adherent to clot and discolored slightly brown (Page 2)

Upper cavical spinal cord multiple minute petechiae (Page 3)

Findings of bums of scalp, groin, and right leg finding of epidural hematoma (Page 4)
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(45) AUTOPSY OF JAMES DAV1D RAULERSON

       68"             Well developed well nourished

Annular bum on head; bum on leg; heart dilated with clotted and unclotted blood; lungs

increased in firmness and subcrepitant; sectioned surfaces are congested (Page 1)

Calvarium and base of skull intact; dural and leptomeoingeal vessels congested and firm; gyrl

widened and sulci narrowed on cerebral hemisphere; findings of electrical bums, pulmonary

congestion and acute cardiac dilation (Page 2)



(46) AUTOPSY OF TIM01HY PALMES



       71"             Well developed adequately nourished

Annular bum on scalp; bum on right leg at knee; heart chambers distended with unclotted blood

(Page I)

Full thickness bum of scalp; calvarium and skull intact; dura over cerebral hemispheres covered

with red-brown hematoma; cuts through brain reveal no other abnormalities; findings of bums to

scalp and leg, epidural heat hematoma, pulmonary congestion and splenomegaly with congestion

(Page 2)



(47) AUTOPSY OF JAMES DUPREE HENRY

       68"            Well developed somewhat muscular and slender

lncomp)ete annular bum with char on right leg; annular burn of scalp; thickness of bum 1 to 1.5

inches; skin slippage (Page 1)

Scalp burn; calvarium and base of skull intact; dura over cerebral areas discolored brown with

brittleness of membrane; flattening of gyri and narrowing of sulci over parietal lobes; cuts of

brain reveal no other abnormalities; finding of annular bum of scalp (Page 2)
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(48) AUTOPSY OF ERNEST JOHN DOBBERT

       74"             Well developed well nourished

Annular burns to top of head; bums on lower abdomen, thigh, scrotum, and leg (Page 1)

Cardiac chambers dilated with clotted and unclotted blood; lungs increased in firmness and

subcrepitant; sectioned surfaces congested; calvarium and base of skull intact; dural and

leptomeningeal vessels congested and firm; gyri widened and sulci oarrowed in superior aspcet

of brain; cuts through brain reveal no other abnormalities; brain 1390 gm (Page 2)

Findings of burns of scalp abdomen, groin, and leg; pulmonary congestion and acute cardiac

dilation (Page 3)



(49) AUTOPSY OF DAV1D WASHINGTON

       72"             Well developed well nourished slender and muscular

Annular bum of bead with brown discoloration skin slippage and increased fumness; whitish

granular precipitate on scalp; bum on right leg with skin slippage and chaning; burn on right

heel (Page 1)

Calvarium and base of skull intact; dura underlying bum discolored brown with increased

firmness; gyral flattening and sulcal narrowing; cuts through brain reveal no other abnormalities;

findings of burns to scalp, leg. and right heel (Page 2)



(50) AUTOPSY OF CARL ELSON SHRINER

       71"             Well developed adequately nourished

Annular bum of scaJp with skin slippage and red-tan heat alteration of scalp tissue; bwn on leg;

lung smface increased in firmness; sanguineous fluid oozes from sectioned lung surfaces (Page

I)



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                                                                                  Wlbwo Declcmc.
Full thickness scalp bum; calvarium and base of skull intact; epidural bematoma; underlying

superior aspect of cerebral hemispheres increased in firmness and pallor; other cuts through

brain reveal no more abnormalities; Findings of bums. epidural bemaioma; pulmonary

congestion (Page 3)



(51) AUTOPSY OF RICHARD LEWIS ADAMS

       70"            Well developed muscular

Annular bum on bead; bum on leg at knee; cardiac chambers dilated with unclotted blood (Page

1)

Bum on scalp yellow-brown discoloration; sagittal sinus discolored brown; dura has prominent

vessels; leptomeningeal vessels congested and prominent; cuts through brain reveal no other

abnormalities; brain 1440 gm (Page 2)

Findings ofbwn of scalp and leg (Page 3)



(52) AUTOPSY OF ARTIIUR F. GOODE. ID

       67"            Well developed well nourished

Annular bum to scalp; bum on right leg at knee; punctate burn to right side of neck; anthracotic

pigmentation on visceral surfaces of luogs; sectioned surfaces of lungs red-brown in color; lung

substance subcrepitant (Page 1)

Calvarium and base of skull intact; epidmal hematoma; underlying dura discolored grey-brown;

gyri flattened and sulci nmowed; dark red blood in subaracbnoid spaces underlying bematoma;

brain stem warmer than sUiface of hemispheres (Page 2)

Findings of bums of scalp, leg, and neck, and epidural bematoma (Page 3)



(53) AtITOPSY OF ANTHONY ANTONE
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         67"

No autopsy. but drawings of injuries. Annular burn to scalp, e)ec1rical bum in groin, and bum at

knee.



(54) AUTOPSY OF ROBERT A. SULLIVAN

         71"          Mildly obese

Annular burn on head and forehead; skjn in zone is tan to brown and quite finn; conjunctiva)

vessels injected; skin of forehead has violaceous lividity; bwn on neck near car, two burns on

thighs; bums on leg (Page 1)

Ca1varium intact; 4 x 2 subdural hematoma red-brown; brain 1600 gm (Page 2)

Findings of multiple bums and epidural hematoma (Page 3)

Linear electrical bwn in groin




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